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                   Exhibit B
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                                                                                                                    SERVE
                                                                                              2 0 1 6 C V F 0 0 1 5 4 0 D2
                                                   CITATION



THE    STATE     OF TEXAS                                         COURT D A T E      09/01/2016®!!:00AM
COUNTY OF WEBB

N O T I C E TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN                                      ATTORNEY.
I F YOU OR YOUR ATTORNEY DO NOT F I L E A WRITTEN ANSWER WITH THE                                        CLERK WHO
ISSUED T H I S C I T A T I O N BY 1 0 : 0 0 A.M. ON THE MONDAY NEXT FOLLOWING THE                        EXPIRATION
OF TWENTY DAYS AFTER YOU WERE SERVED T H I S C I T A T I O N AND P E T I T I O N ,                       A DEFAULT
JUDGMENT MAY BE TAKEN A G A I N S T YOU."

TO:     A S I LLOYDS BY S E R V I N G BY S E R V I N G I T S R E G I S T E R E D AGENT: RODNEY D. BUCKER
        7 00 NORTH P E A R L S T R E E T 25TH FLOOR
        DALLAS,     TX 7 5 2 0 1

DEFENDANT, I N THE H E R E I N A F T E R S T Y L E D AND NUMBERED CAUSE, YOU ARE HEREBY
COMMANDED TO APPEAR B E F O R E THE 1 1 1 T H D I S T R I C T COURT o f Webb C o u n t y , T e x a s ,
t o b e h e l d a t t h e s a i d c o u r t h o u s e o f s a i d c o u n t y i n t h e c i t y o f L a r e d o , Webb
County, Texas, b y f i l i n g a w r i t t e n answer t o t h e P e t i t i o n o f P l a i n t i f f a t o r
b e f o r e 1 0 : 0 0 O'CLOCK A.M. o f t h e M o n d a y n e x t a f t e r t h e e x p i r a t i o n o f 20 d a y s
a f t e r t h edate o f s e r v i c e t h e r e o f , a copy o f which accompanies t h i s c i t a t i o n ,
i n t h e C a u s e #: 2 0 1 6 C V F 0 0 1 5 4 0 D2 , s t y l e d :
                                    E L I Z A B E T H BENAVIDES, P L A I N T I F F
                                                          VS.
                                             A S I LLOYDS, DEFENDANT

Said    P l a i n t i f f ' s P e t i t i o n was f i l e d o n 06/01/2016     i nsaid     c o u r t ! (2CJ
         BRYAN B E V E R L Y , ATTORNEY FOR P L A I N T I F F
         2 6 6 1 9 I N T E R S T A T E 45 SOUTH
         THE WOODLANDS,                  TX 7 7 3 80

W I T N E S S E S T H E R DEGOLLADO, D I S T R I C T CLERK OF WEBB COUNTY, TEXAS, I s s u e d a n d
g i v e n u n d e r my h a n d a n d s e a l o f s a i d c o u r t a t o f f i c e , t h i s 9 d a y o f J u n e ,
2016 .



                     C    L    E    R         K        O F                 C    O    U    R     T


                                                            ESTHER DEGOLLADO
                                                            WEBB COUNTY D I S T R I C T CLERK
                                    •                       P.O. BOX 6 6 7

                                    \
                               \        \'/


                                                             ESMERALDA ALVARADO
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                                                                                                  2 0 1 6 C V F 0 0 1 5 4 0 D2
                                             O F F I C E R ' S RETURN

         Came t o h a n d                                   of Oi.Atjp
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                                                                                            , 2 016 a t

                 0'CLOCK        I       M. E x e c u t e d a t

within      t h e COUNTY o f                              at                         O'CLOCK           .M. o n

the                day o f                          , 2 0 1 6 , b y d e l i v e r i n g t o t h e w i t h i n named
A S I LLOYDS, e a c h , i n p e r s o n , a t r u e c o p y o f t h i s c i t a t i o n t o g e t h e r w i t h t h e
accompanying copy o f t h e p e t i t i o n , h a v i n g f i r s t a t t a c h e d such copy o f such
p e t i t i o n t o such copy o f c i t a t i o n and endorsed on such copy o f c i t a t i o n t h e
date o f delivery.

T h e d i s t a n c e a c t u a l l y t r a v e l e d b y me i n s e r v i n g   s u c h p r o c e s s was
m i l e s , a n d my f e e s a r e a s f o l l o w s :

Total     Fee f o r s e r v i n g   this     citation            $                          .

T o c e r t i f y w h i c h , w i t n e s s my h a n d   officially.




                                                                 SHERIFF,     CONSTABLE

                                                                                             COUNTY, TEXAS


                                                                 BY
                                                                                                             DEPUTY

THE S T A T E OF TEXAS }
COUNTY OF WEBB         }

B e f o r e me, t h e u n d e r s i g n e d a u t h o r i t y , o n t h i s d a y p e r s o n a l l y a p p e a r e d
                                                  , who a f t e r b e i n g d u l y s w o r n , u p o n o a t h s a i d
t h a t a n o t i c e , o f w h i c h t h e above i s a t r u e copy, was b y h i m / h e r d e l i v e r e d
to                                                                               on t h e                             day o f


SWORN TO AND SUBSCRIBED BEFORE ME o n t h e                                day o f
          , t o c e r t i f y w h i c h w i t n e s s my h a n d          and seal o f o f f i c e .




                                                                                                      NOTARY P U B L I C
                                                               MY COMMISSION EXPIRES
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                                                                                                                   Filed
                                                                                                 6/1/2016 11:26:01 AM
                                                                                                      Esther Degollado
                                                                                                          District Clerk
                                                                                                         Webb District
                                                                                                   Esmeralda Alvarado
                              CAUSE NO.      QC) | IDC U K X l                       \ & L ±       2016CVF001540D2




E L I Z A B E T H BENAVIDES,                          IN THE DISTRICT COURT
         Plaintiff,



vs.                                                   WEBB COUNTY, TEXAS

ASI LLOYDS,                                                 )
      Defendant.                                            JUDICIAL DISTRICT


                              PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Elizabeth Benavides (hereinafter "Plaintiff), and complains of ASI

Lloyds (hereinafter "ASI").     In support of her claims and causes of action, Plaintiff would

respectfully show the Court as follows:

                                      DISCOVERY L E V E L

        1.     Plaintiff intends for discovery to be conducted at Level 2, pursuant to Rule 190 of

the Texas Rules of Civil Procedure.

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction to hear Plaintiff's claims under Texas common law and

Texas statutory law. Inarguably, the amount in controversy exceeds the minimum jurisdictional

limits of this Covirt. Venue is also proper, as all or a substantial part of the events giving rise to

this suit occurred within the city of Laredo, in Webb County, Texas.




                      PLAINTIFF ELIZABETH BENAVIDES' ORIGINAL PETITION
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                                              PARTIES

          3.   Plaintiff is an individual whose residence is located in Laredo, Webb County,

Texas.

          4.   Defendant ASI is a Texas insurer, which may be served with process by serving

this Original Petition and a copy of the citation on its Registered Agent, Rodney D. Bucker, at its

registered address, 700 North Pearl Street 25th Floor, Dallas, Texas 75201.

                                        BACKGROUND

          5.   This matter revolves largely around a first party insurance dispute regarding the

extent of damages and amount of loss suffered to the Plaintiff's Property, which is located at 910

Jasent Court, Laredo, Texas 78045, (the "Property").        In addition to seeking economic and

penalty based damages from ASI, Plaintiff also seeks compensation from ASI for damages

caused by improperly investigating the extensive losses associated with this case.

          6.   Plaintiff owns the Property.

          7.   Prior to the occurrence in question, Plaintiff purchased a residential insurance

policy from ASI to cover the Property at issue in this case for a loss due to storm-related events.

Plaintiff's Property suffered storm-related damage. Through her residential policy, TXL435384,

Plaintiff was objectively insured for the subject loss by Defendant.

          8.   On or around September 29, 2015, the Property suffered incredible damage due to

storm related conditions.

          9.   In the aftermath, Plaintiff relied on ASI to help begin the rebuilding process. By

and through her residential policy, Plaintiff was objectively insured for the subject losses in this

matter.



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        10. Pursuant to her obligation as a policyholder, Plaintiff made complete payment of all

residential insurance premiums in a timely fashion. Moreover, her residential policy covered

Plaintiff during the time period in question.

        11.     Despite Plaintiff's efforts, ASI continually failed and refused to pay Plaintiff in

accordance with its promises under the Policy.

        12.   Moreover, ASI has failed to make any reasonable attempt to settle Plaintiff's claims

in a fair manner, although its liability to the Plaintiff under the policy is without dispute.

        13.     In the months following, Plaintiff provided information to ASI, as well as

provided opportunities for ASI to inspect the Property. However, ASI failed to conduct a fair

investigation into the damage to the Property.        Moreover, ASI failed to properly inspect the

Property and its related damages, failed to properly request information, failed to properly

investigate the claim, failed to timely evaluate the claim, failed to timely estimate the claim, and

failed to timely and properly report and make recommendations in regard to Plaintiff's claims.

        14.     Despite ASFs improprieties, Plaintiff continued to provide information regarding

the losses and the related claim to ASI. Further, Plaintiff made inquiries regarding the status of

the losses, and payments. Regardless, ASI failed and refused to respond to the inquiries, and

failed to properly adjust the claim and the losses. As a result, to this date, Plaintiff has not

received proper payment for her claim, even though notification was provided.

        15.     ASI has failed to explain the reasons for failing to offer adequate compensation

for the damage to the Property.          ASI has furthermore failed to offer Plaintiff adequate

compensation without any explanation why full payment was not being made.                 ASI did not




                      PLAINTIFF ELIZABETH BENAVIDES' ORIGINAL PETITION
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communicate that any future settlements or payments would be forthcoming to pay the entire

losses covered under the policy.

        16.    ASI has further failed to affirm or deny coverage within a reasonable time.

Plaintiff also did not receive timely indication of acceptance or rejection regarding the full and

entire claim in writing from ASI in a timely manner.

        17.    ASI has, to date, refused to fully compensate Plaintiff under the terms of the

policy for which Plaintiff paid, even though it was ASI that failed to conduct a reasonable

investigation. Ultimately, ASI perfomied a result-oriented investigation of Plaintiff's claim that

resulted in an unfair, biased and inequitable evaluation of Plaintiff's losses.

        18.    ASI has failed to meet its obligations under the Texas Insurance Code regarding

timely aclmowledging Plaintiff's claim, beginning an investigation of Plaintiff's claim, and

requesting all information reasonably necessary to investigate Plaintiff's claims within the time

period mandated by statute.

        19.    As a result of the above issues, Plaintiff did not receive the coverage for which

she had originally contracted with ASI. Unfortunately, Plaintiff has, therefore, been forced to file

this suit in order to recover damages arising from the above conduct, as well as overall from the

unfair refusal to pay insurance benefits.

        20.    In addition, ASI has failed to place adequate and proper coverage for Plaintiff

causing Plaintiff to suffer further damages. As indicated below, Plaintiff seeks relief under the

common law, the Deceptive Trade Practices-Consumer Protection Act and the Texas Insurance

Code.




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                                  CONDTTTONS PRECEDENT

       21.    All conditions precedent to recovery by Plaintiff has been met or has occurred.

                                           AGENCY

       22.    All acts by ASI were undertaken and completed by its officers, agents, servants,

employees, and/or representatives. Such were either done with the full authorization or

ratification of ASI and/or were completed in its normal and routine course and scope of

employment with ASI.

                             CLAIMS AGAINST DEFENDANT

       23.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

                                               A.

                                          NEGLIGENCE

       24.     ASI had and owed a legal duty to Plaintiff to properly adjust the stmctural and

property damage and other insurance losses associated with the Property. ASI breached this duty

in a number of ways, including but not limited to the following:
               a.      ASI was to exercise due care in adjusting and paying policy proceeds
                       regarding Plaintiff's Property loss;

               b.      ASI had a duty to competently and completely handle and pay all damages
                       associated with Plaintiff's Property; and/or

               c.      ASI failed to properly complete all adjusting activities associated with
                       Plaintiff.

       25.     ASFs acts, omissions, and/or breaches did great damage to Plaintiff, and were a

proximate cause of Plaintiff's damages.




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                                          B.
                                  BREACH OF CONTRACT

       26.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

       27.     According to the policy that Plaintiff purchased, ASI had the absolute duty to

investigate Plaintiff's damages, and to pay Plaintiff's policy benefits for the claims made due to

the extensive storm-related damages.

       28.     As a result of the storm-related event, Plaintiff suffered extreme external and

internal damages.

       29.     Despite objective evidence of such damages, ASI has breached its contractual

obligations under the subject insurance policy by failing to pay Plaintiff benefits relating to the

cost to properly repair Plaintiff's Property, as well as for related losses.    As a result of this

breach, Plaintiff has suffered actual and consequential damages.

                                                C.
                       VIOLATIONS OF TEXAS D E C E P T I V E TRADE
                         PRACTICES ACT AND TIE-IN-STATUTES

       30.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

       31.     ASFs collective actions constitute violations of the DTPA, including but not

limited to, Sections 17.46(b) (12), (14), (20), (24), and Section 17.50(a) (4) of the Texas Business

& Commerce Code. ASI collectively engaged in false, misleading, or deceptive acts or practices

that included, but were not limited to:

               a.      Representing that an agreement confers or involves rights, remedies, or
                       obligations which it does not have or involve, or which are prohibited by
                       law;

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               b.      Misrepresenting the authority of a salesman, representative, or agent to
                       negotiate the final terms of a consumer transaction;

               c.      Failing to disclose information concerning goods or sendees which were
                       known at the time of the transaction, and the failure to disclose such
                       information was intended to induce the consumer into a transaction into
                       which the consumer would not have entered had such information been
                       disclosed;

               d.      Using or employing an act or practice in violation of the Texas Insurance
                       Code;

               e.      Unreasonably delaying the investigation, adjustment and resolution of
                       Plaintiff's claim;

               f.      Failure to properly investigate Plaintiff's claim; and/or

               g.      Hiring and relying upon a biased engineer and/or adjuster to obtain a
                       favorable, result-oriented report to assist ASI in low-balling and/or
                       denying Plaintiff's damage claim.

       32.     As described in this Original Petition, ASI represented to Plaintiff that her

insurance policy and ASFs adjusting and investigative services had characteristics or benefits

that it actually did not have, which gives Plaintiff the right to recover under Section 17.46 (b)(5)

of the DTPA.

       33.     As described in this Original Petition, ASI represented to Plaintiff that its

insurance policy and ASFs adjusting and investigative services were of a particular standard,

quality, or grade when they were of another, which stands in violation of Section 17.46 (b)(7) of

the DTPA.

       34.     By representing that ASI would pay the entire amount needed by Plaintiff to

repair the damages caused by the storm-related event and then not doing so, ASI has violated

Sections 17.46 (b)(5), (7) and (12) of the DTPA.


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       35.     ASI has breached an express warranty that the damage caused by the storm-

related event would be covered under the subject insurance policies.          This breach entitles

Plaintiff to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.

       36.     ASFs actions, as described herein, are unconscionable in that it took advantage of

Plaintiff's lack of knowledge, ability, and experience to a grossly unfair degree.            ASFs

unconscionable conduct gives Plaintiff the right to relief under Section 17.50(a)(3) of the DTPA.

       37.     ASFs conduct, acts, omissions, and failures, as described in this Original Petition,

are unfair practices in the business of insurance in violation of Section 17.50 (a) (4) of the DTPA.

       38.     Plaintiff is a consumer, as defined under the DTPA, and relied upon these false,

misleading, or deceptive acts or practices made by ASI to her detriment.           As a direct and

proximate result of ASFs collective acts and conduct, Plaintiff has been damaged in an amount in

excess of the minimum jurisdictional limits of this Court, for which Plaintiff now sues. All of

the above-described acts, omissions, and failures of ASI are a producing cause of Plaintiff's

damages that are described in this Original Petition.

       39.     Because ASFs collective actions and conduct were committed knowingly and

intentionally, Plaintiff is entitled to recover, in addition to all damages described herein, mental

anguish damages and additional penalty damages, in an amount not to exceed three times such

actual damages, for ASI having knowingly committed its conduct. Additionally, Plaintiff is

ultimately entitled to recover damages in an amount not to exceed three times the amount of

mental anguish and actual damages due to ASI having intentionally committed such conduct.

       40.     As a result of ASFs unconscionable, misleading, and deceptive actions and

conduct, Plaintiff has been forced to retain the legal services of the undersigned attorneys to



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protect and pursue these claims on her behalf. Accordingly, Plaintiff also seeks to recover her

costs and reasonable and necessary attorneys' fees as penuitted under Section 17.50(d) of the

Texas Business & Commerce Code, as well as any other such damages to which Plaintiff may

show herself to be justly entitled at law and in equity.

                                        D.
                       VIOLATIONS OF TEXAS INSURANCE CODE

       41.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

within the foregoing paragraphs.

       42.     ASFs actions constitute violations of the Texas Insurance Code, including but not

limited to, Aiticle 21.21 Sections 4(10) (a) (ii), (iv), and (viii) (codified as Section 541.060),

Article 21.21 Section 11(e) (codified as Section 541.061), and Aiticle 21.55 Section 3(f)

(codified as Section 542.058). Specifically, ASI engaged in certain unfair or deceptive acts or

practices that include, but are not limited to the following:

               a.      Failing to attempt, in good faith, to effectuate a prompt, fair, and equitable
                       settlement of a claim with respect to which the insurer's liability has
                       become reasonably clear;

               b.      Failing to provide promptly to a policyholder a reasonable explanation of
                       the basis in the policy, in relation to the facts or applicable law, for the
                       insurer's denial of a claim or for the offer of a compromise settlement of a
                       claim;

               c.      Refusing to pay a claim without conducting a reasonable investigation
                       with respect to the claim;

               d.      Forcing Plaintiff to file suit to recover amounts due under the policy by
                       refusing to pay all benefits due;

                e.     Misrepresenting an insurance policy by failing to disclose any matter
                       required by law to be disclosed, including a failure to make such
                       disclosure in accordance with another provision of this code; and/or


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               f.       Failing to pay a valid claim after receiving all reasonably requested and
                        required items from the claimant.

       43.     Plaintiff is the insured or beneficiary of a claim which was apparently valid as a

result of the unauthorized acts of ASI, and Plaintiff relied upon these unfair or deceptive acts or

practices by ASI to her detriment. Accordingly, ASI became the insurer of Plaintiff.

       44.     As a direct and proximate result of ASFs acts and conduct, Plaintiff has been

damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which she

now sues.

       45.     Since a violation of the Texas Insurance Code is a direct violation of the DTPA,

and because ASFs actions and conduct were committed knowingly and intentionally, Plaintiff is

entitled to recover, in addition to all damages described herein, mental anguish damages and

additional damages in an amount not to exceed three times the amount of actual damages, for

ASI having knowingly committed such conduct. Additionally, Plaintiff is entitled to recover

damages in an amount not to exceed tliree times the amount of mental and actual damages for

ASI having intentionally committed such conduct.

       46.     As a result of ASFs unfair and deceptive actions and conduct, Plaintiff has been

forced to retain the legal services of the undersigned attorneys to protect and pursue these claims

on her behalf.      Accordingly, Plaintiff also seeks to recover her costs and reasonable and

necessary attorneys' fees as permitted under Section 17.50(d) of the Texas Business &

Commerce Code or Article 21.21 Section 16(b) (1) (codified as Section 541.152) of the Texas

Insurance Code and any other such damages to which Plaintiff may show herself justly entitled

by law and in equity.




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                                           E.
                          BREACH OF T H E COMMON-LAW DUTY
                           OF GOOD FAITH AND FAIR DEALING

       47.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       48.     By its acts, omissions, failures and conduct, ASI has breached its common law

duty of good faith and fair dealing by denying Plaintiff's claims or inadequately adjusting and

making an offer on Plaintiff's claims without any reasonable basis, and by failing to conduct a

reasonable investigation to determine whether there was a reasonable basis for this denial.

       49.     ASI has also breached this duty by unreasonably delaying payment of Plaintiff's

entire claims and by failing to settle Plaintiff's claims, as ASI knew or should have known that it

was reasonably clear that Plaintiff's storm-related claims were covered. These acts, omissions,

failures, and conduct by ASI is a proximate cause of Plaintiff's damages.

                                                  F.

                               BREACH OF FIDUCIARY DUTY

       50.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       51.     ASI had a fiduciary relationship, or in the alternative, a relationship of trust and

confidence with Plaintiff. As a result, ASI owed a duty of good faith and fair dealing to Plaintiff.

ASI breached that fiduciary in that:

               a.       The transaction was not fair and equitable to Plaintiff;
               b.       ASI did not make reasonable use of the confidence that Plaintiff placed
                        upon it;

               c.       ASI did not act in the utmost good faith and did not exercise the most
                        scrupulous honesty toward Plaintiff;

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               d.       ASI did not place the interests of Plaintiff before its own, and ASI used the
                        advantage of its position to gain a benefit for itself, at Plaintiff's expense;

               e.       ASI placed itself in a position where its self-interest might conflict with its
                        obligations as a fiduciary; and/or

               f.       ASI did not fully and fairly disclose all important information to Plaintiff
                        concerning the sale of the policy.

       52.     ASI is liable for Plaintiff's damages for breach of fiduciary duty, as such damages

were objectively caused by ASFs conduct.

                                                  G.

                              UNFAIR INSURANCE PRACTICES

       53.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       54.     Plaintiff has satisfied all conditions precedent to bringing these causes of action.

By its acts, omissions, failures, and conduct, ASI has engaged in unfair and deceptive acts or

practices in the business of insurance in violation of Chapter 541 of the Texas Insurance Code.

       55.     Such violations include, without limitation, all the conduct described in this

Original Petition, plus ASFs failure to properly investigate Plaintiff's claim.          Plaintiff also

includes ASFs unreasonable delays in the investigation, adjustment, and resolution of Plaintiff's

claims and ASFs failure to pay for the proper repair of Plaintiff's Property, as to which ASFs

liability had become reasonably clear.

       56.     Additional violations include ASFs hiring of and reliance upon biased adjusters

and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling and

denying Plaintiff's storm-related damage and related claims. Plaintiff further includes ASFs

failure to look for coverage and give Plaintiff the benefit of the doubt, as well as ASFs
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misrepresentations of coverage under the subject insurance policy. Specifically, ASI is also guilty

of the following unfair insurance practices:

                a.      Engaging in false, misleading, and deceptive acts or practices in the
                        business of insurance in this case;

                b.      Engaging in unfair claims settlement practices;

                c.      Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
                        the coverage at issue;

                d.      Not attempting in good faith to effectuate a prompt, fair, and equitable
                        settlement of Plaintiffs' claims as to which ASFs liability had become
                        reasonably clear;

                e.      Failing to affirm or deny coverage of Plaintiff's claims within a reasonable
                        time and failing within a reasonable time to submit a reservation of rights
                        letter to Plaintiff;

                f.      Refusing to pay Plaintiff's claims without conducting a reasonable
                        investigation with respect to the claims; and/or

                g.      Failing to provide promptly to a policyholder a reasonable explanation of
                        the basis in the insurance policy, in relation to the facts or applicable law,
                        for the denial of a claim or for the offer of a compromise settlement.

        57.     ASI has also breached the Texas Insurance Code when it breached its duty of

good faith and fair dealing. ASFs conduct as described herein has resulted in Plaintiff's damages

that are described in this Original Petition.

                                                 H.

                                     MISREPRESENTATION

        58.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

        59.     ASI is liable to Plaintiff under the theories of intentional misrepresentation, or in

the alternative, negligent misrepresentation. Essentially, ASI did not inform Plaintiff of certain

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exclusions in the policy. Misrepresentations were made with the intention that they should be

relied upon and acted upon by Plaintiff who relied on the misrepresentations to her detriment. As

a result, Plaintiff has suffered damages, including but not limited to loss of the Property, loss of

use of the Property, mental anguish and attorney's fees.          ASI is liable for these actual

consequential and penalty-based damages.

                                                 I.

              COMMON-LAW FRAUD BY NEGLIGENT MISREPRESENTATION

       60.      Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

        61.     Plaintiff would show that ASI perpetrated fraud by misrepresentation (either

intentionally or negligently) by falsely representing a fact of materiality to Plaintiff, who relied

upon such representations that ultimately resulted in her injuries and damages. Alternatively,

ASI fraudulently concealed material facts from Plaintiff, the result of which caused damage to

Plaintiff as a result of the storm-related damages.

        62.     Specifically, and as a proximate cause and result of this fraudulent concealment,

fraud and negligent misrepresentation, all of which was perpetrated without the knowledge or

consent of Plaintiff, Plaintiff has sustained damages far in excess of the minimum jurisdictional

limits of this Court.

        63.     By reason of Plaintiff's reliance on ASI fraudulent representations, negligent

misrepresentations and/or fraudulent concealment of material facts as described in this

complaint, Plaintiff has suffered actual damages for which he now sues.

        64.     Plaintiff further alleges that because ASI knew that the misrepresentations made

to Plaintiff were false at the time they were made, such misrepresentations are fraudulent,

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negligent or grossly negligent on the part of ASI, and constitute conduct for which the law allows

the imposition of exemplary damages.

        65.     In this regard, Plaintiff will show that she has incurred significant litigation

expenses, including attorneys' fees, in the investigation and prosecution of this action.

        66.     Accordingly, Plaintiff requests that penalty damages be awarded against ASI in a

sum in excess of the minimum jurisdictional limits of this Court.

                                   WAIVER AND ESTOPPEL

        67.      Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

        68.     ASI has waived and is estopped from asserting any defenses, conditions,

exclusions, or exceptions to coverage not contained in any Reservation of Rights or denial letters

to Plaintiff.

                                            DAMAGES

        69.     ASI's acts have been the producing and/or proximate cause of damage to Plaintiff,

and Plaintiff seeks an amount in excess of the minimum jurisdictional limits of this Court.

        70.      More specifically, Plaintiff seeks monetary relief of over $100,000 but not more

than $200,000.

                              ADDITIONAL DAMAGES & PENALTIES

        71.      ASFs conduct was committed knowingly and intentionally. Accordingly, ASI is

liable for additional damages under the DTPA, section 17.50(b) (1), as well as all operative

provisions of the Texas Insurance Code. Plaintiff is, thus, clearly entitled to the 18% damages

allowed by the Texas Insurance Code.



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                                         ATTORNEY FEES

        72.      In addition, Plaintiff is entitled to all reasonable and necessary attorneys' fees

pursuant to the Texas Insurance Code, DTPA, and sections 3 8.001-.005 of the Civil Practice and

Remedies Code.

                                          JURY DEMAND

        73.      Plaintiff demands a jury trial and tenders the appropriate fee with this Original

Petition.

                                  REQUEST FOR DISCLOSURE

        74.      Pursuant to the Texas Rules of Civil Procedure, Plaintiff requests that ASI

disclose all information and/or material as required by Rule 194.2, paragraphs (a) through (1),

and to do so within 50 days of this request.

                                  REQUEST FOR PRODUCTION

        75.      Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Requests for Production.

              a.    Please produce ASI complete claim files from the home, regional, local offices,
            and third party adjusters/adjusting firms regarding the claims that are the subject of this
            matter, including copies of the file jackets, "field" files and notes, and drafts of
            documents contained in the file for the premises relating to or arising out of Plaintiff's
            underlying claim.

             b.    Please produce the underwriting files referring or relating in any way to the
            policy at issue in this action, including the file folders in which the underwriting
            documents are kept and drafts of all documents in the file.

              c.   Please produce certified copy of the insurance policy pertaining to the claims
            involved in this suit.

              d.    Please produce the electronic diary, including the electronic and paper notes
            made by ASI claims personnel, contractors, and third party adjusters/adjusting firms
            relating to the Plaintiff's claims.

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           e.    Please produce all emails and other forms of communication by and between all
         parties in this matter relating to the underlying event, claims or the Property, which is
         the subject of this suit.

           f.    Please produce the adjusting reports, estimates and appraisals prepared
          concerning Plaintiff's underlying claim.

           g.    Please produce the field notes, measurements and file maintained by the
          adjuster(s) and engineers who physically inspected the subject Property.

          h.     Please produce the emails, instant messages and internal correspondence
         pertaining to Plaintiff's underlying claim(s).

           i.    Please produce the videotapes, photographs and recordings of Plaintiff or
         Plaintiff's home, regardless of whether ASI intends to offer these items into evidence at
         trial.

                                        INTERROGATORIES

       76,        Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Interrogatories.

             a.     Please identify any person ASI expects to call to testify at the time of trial.

            b.    Please identify the persons involved in the investigation and handling of
          Plaintiff's claims for insurance benefits arising from damage relating to the underlying
          event, claims or the Property, which is the subject of this suit, and include a brief
          description of the involvement of each person identified, their employer, and the date(s)
          of such involvement.

           c.    If ASI or ASFs representatives performed any investigative steps in addition to
         what is reflected in the claims file, please generally describe those investigative steps
         conducted by ASI or any of ASFs representatives with respect to the facts surrounding
         the circumstances of the subject loss. Identify the persons involved in each step.

           d.    Please identify by date, author, and result the estimates, appraisals, engineering,
          mold and other reports generated as a result of ASFs investigation.

             e.     Please state the following concerning notice of claims and timing of payment:

                         i.      The date and manner in which ASI received notice of the claim;

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                  ii.    The date and manner in which ASI acknowledged receipt of the
                         claim;
                  iii.   The date and manner in which ASI commenced investigation
                         of the claim;
                  iv.    The date and manner in which ASI requested from the claimant
                         all items, statements, and forms that ASI reasonably believed,
                         at the time, would be required from the claimant; and
                 v.      The date and manner in which ASI notified the claimant in
                         writing of the acceptance or rejection of the claim.

      f.   Please identify by date, amount and reason, the insurance proceed payments
     made by ASI, or on ASI's behalf, to the Plaintiff.

       g.    Have Plaintiff's claims for insurance benefits been rejected or denied in full or
     in part? If so, state the reasons for rejecting/denying the claim.

      h.    When was the date ASI anticipated litigation?

       i.    Have any documents (including those maintained electronically) relating to the
     investigation or handling of Plaintiff's claims for insurance benefits been destroyed or
     disposed of? I f so, please identify what, when and why the document was destroyed,
     and describe ASFs document retention policy.

      j.    Does ASI contend that the insured premises was damaged by storm-related
     events and/or any excluded peril? I f so, state the general factual basis for this
     contention.

      k.     Does ASI contend that any act or omission by the Plaintiff voided, nullified,
     waived or breached the insurance policy in any way? I f so, state the general factual
     basis for this contention.

      1.    Does ASI contend that the Plaintiff failed to satisfy any condition precedent or
     covenant of the policy in any way? I f so, state the general factual basis for this
     contention.

       m. How is the performance of the adjuster(s) involved in handling Plaintiff's
     claims evaluated? State the following:

                  i.     what performance measures are used; and
                  ii.    describe ASFs bonus or incentive plan for adjusters.




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                                          CONCLUSION

       77.     Plaintiff prays that judgment be entered against ASI Lloyds, and that Plaintiff be

awarded all of her actual damages, consequential damages, prejudgment interest, additional

statutory damages, post judgment interest, reasonable and necessary attorney fees, court costs

and for all such other relief, general or specific, in law or in equity, whether pled or un-pled

within this Original Petition.

                                           PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays she be awarded all such

relief to which she is due as a result of the acts of ASI Lloyds, and for all such other relief to

which Plaintiff may be justly entitled.

                                             Respectfully submitted,

                                             THE VOSS LAW FIRM, P.C.



                                             /s/ C. Bryan Beverly
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                                             The Voss Law Center
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                                             ATTORNEYS FOR PLAINTIFF




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                                           Page 19
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                                               M O N I C A Z. N O T Z O N
                                                        th
                                         JUDGE, 1 1 1 DISTRICT COURT
                                      1110 VICTORIA SUITE #301 3™ FLOOR
       A B E L SOLIZ                                                                             FERNANDO RAMOS
CIVIL COURT COORDINATOR
                                             LAREDO, TEXAS 78040                                     BAILIFF
    (956)523-4226                             OFFICE (956)523-4230                                    (956)523-4227
                                               FAX (956)523-5088


                                                                                               June 9, 2016

                               CAUSE NO.:   2016CVF001540 D2

                                   STYLE:   ELIZABETH BENAVIDES

                                            VS

                                            ASI LLOYDS

                                NOTICE OF CALENDAR CALL

    Please take notice that this case is set for Calendar Call on            09/01/2016
                          th                     rd
at 11:00 AM at the 111 District Court, 3 Floor, Webb County Justice Center.

   All Calendar Call hearings will be in open Court and on the record before the Honorable

Judge Monica Z. Notzon. Your presence is MANDATORY unless Counsel for Plaintiff(s) and

Defendant(s) have in place a pre-trial guideline order with both Counsel and Judge's signatures

prior to calendar call date. This guideline order should have all appropriate dates including

pre-trial, jury selection and all deadlines.

   Counsel for Plaintiff(s) please note that if you do not appear for calendar call your case may

be dismissed for lack of prosecution.

   Counsel for Defendant(s) please note that if you do not appear for calendar call, a pre-trial

guideline order may be entered with or without your approval and/or signature.

   If there are any questions regarding this matter please feel free to call our office at any time.




                                                                            Abel Soliz
                                                                            Civil Court Coordinator
                                                                               t h
                                                                            I I I District Court
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                                                                   RECEIVED
                                                                     JUL 1 5 2016
               ASI Lloyds                                                 TCCI
               c/o Rodney D. Bucker, Registered Agent
                                        th
               700 North Pearl Street, 25 Floor
               Dallas, TX 75201
